 1   Susan S. Ford, OSB No. 842203
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 2   SUSSMAN SHANK LLP
     1000 SW Broadway, Suite 1400
 3   Portland, OR 97205-3089
     Telephone: (503) 227-1111
 4   Facsimile: (503) 248-0130
     E-Mail: sford@sussmanshank.com
 5
              Attorneys for Stephen Fritz, M.D., creditor
 6

 7

 8
                            IN THE UNITED STATES BANKRUPTCY COURT
 9
                                               DISTRICT OF OREGON
10
     In re:                                                           )      Case No. 22-30228-thp11
11                                                                    )
     AAIM Care, LLC,                                                  )      MOTION FOR ORDER AUTHORIZING
12                                                                    )      RULE 2004 EXAMINATIONS OF DR.
                                                                      )      SANJEEV JAIN, RAJEEV JAIN, AND
13            Debtor-in-Possession.                                   )      CHASE BANK, N.A.
                                                                      )
14                                                                    )
                                                                      )
15
                                 CERTIFICATION UNDER LBR 7007-1
16
              The undersigned hereby certifies she attempted to confer with Theodore J. Piteo, attorney
17
     for Debtor, who did not respond to: (a) a draft request for informal production of documents
18
     emailed on May 4, 2022 in lieu of examination pursuant to Fed. R. Bankr. Proc. 2004 (“Rule
19
     2004”), which requested production by May 18, 2022; (b) a follow-up email sent May 13, 2022
20
     regarding the May 4, 2022 request; and (c) a telephone message left the morning of May 24, 2022
21
     requesting telephonic conferral regarding the attached request for production of documents to the
22
     Debtor and Affiliates prior to filing this Motion.
23
              With respect to Chase Bank, N. A., the undersigned certifies she conferred telephonically
24
     on two occasions and several times by email with Chase Bank’s attorney, Steve Linkon, after
25
     providing a draft request for informal production of documents on May 4, 2022. Chase Bank
26
       Page 1 of 4 - MOTION FOR ORDER AUTHORIZING RULE 2004 EXAMINATIONS OF
       DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE BANK, NA


                                                SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                      1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                            TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 22-30228-thp11                   Doc 108           Filed 05/26/22
 1   opposes this Motion.

 2          The undersigned counsel to Stephen Fritz, M.D. (“Fritz”) further understands that

 3   Dr. Sanjeev Jain, Rajeev Jain, and CMD Group, LLC are not represented by counsel, and therefore

 4   she did not confer with them prior to filing this Motion.

 5                                            MOTION

 6          Stephen Fritz, M.D. through his counsel of record, moves this Court, pursuant to Rules

 7   2004 and 9016, for entry of an order authorizing the examinations of Dr. Sanjeev Jain, Rajeev Jain,

 8   and Chase Bank, N.A. concerning the debtor’s assets, liabilities, partnerships, and business

 9   relationships, including with CMD Group LLC, Dr. Sanjeev Jain, Columbia Asthma and Allergy

10   Clinic I, Inc., Pacifica Medical Group, LLC, and other affiliates and insiders of the Debtor, the

11   Debtor’s proposed Chapter 11 Plan, and transfers of the Debtor’s money and property prior to the

12   petition date, and requiring the production of documents described on Exhibit A for the Debtor

13   and Exhibit B for Chase Bank, N.A. A proposed form of Order granting this Motion is attached

14   hereto along with draft Subpoenas.

15                                 ARGUMENT AND AUTHORITIES

16          Fritz is an unsecured creditor in the above case and an interested party. The Debtor has

17   ignored or refused to provide Fritz with documents that may be critical in determining whether

18   this Court should confirm the Debtor’s proposed Chapter 11 Plan dated May 1, 2022 (but filed on

19   May 12, 2022) and related issues. The documents and information Fritz seeks from the Debtor

20   were requested in writing on May 4, 2022.

21          Chase Bank was asked to provide documents at about the same time; however, to minimize

22   burden and expense to Chase, Fritz agreed to postpone the Chase production to follow the Debtor’s

23   anticipated production, provided that the confirmation hearing currently scheduled for June 27,

24   2022 on the Debtor’s proposed Chapter 11 Plan is rescheduled to a later date. The current schedule

25   does not allow sufficient time for Fritz to receive and review the documents requested from the

26   Debtor and Chase, for purposes of determining how to vote on the plan, or to identify and submit

      Page 2 of 4 - MOTION FOR ORDER AUTHORIZING RULE 2004 EXAMINATIONS OF
      DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE BANK, NA


                                            SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                  1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                        TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
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 1   confirmation hearing exhibits in aid of a potential objection to confirmation of the proposed plan.

 2          At this time, there are no pending adversary proceedings or contested matters between the

 3   Debtor and Fritz or Chase Bank and Fritz. The Debtor met the deadline to file a proposed

 4   Chapter 11 Plan under Subchapter V of the Code, but the objection deadline is not until June 20,

 5   2022. Debtor should not be permitted to unilaterally deny interested parties information necessary

 6   for fair consideration of the proposed plan or the confirmation hearing. Moreover, Fritz’s counsel

 7   is unaware of any specific deadline by which the Debtor’s plan must be confirmed, and therefore

 8   a postponement of the confirmation hearing to allow inquiry into the debtor’s financial affairs is

 9   appropriate and will not prejudice the Debtor.

10          “Rule 2004 permits a party in interest … to examine ‘any entity’ regarding any ‘acts,

11   conduct, or property’ or ‘liabilities and financial condition’ of the debtor or regarding ‘any matter

12   which may affect the administration of the debtor's estate.’” In re Consolidated Meridian Funds,

13   No. 10-17952, 2013 WL 1501636, at *9 (Bankr. W.D. Wash. Apr. 5, 2013) (quoting Rule 2004).

14   “The purpose of a Rule 2004 examination is to assist a party in interest in determining the nature

15   and extent of the bankruptcy estate, revealing assets, examining transactions and assessing whether

16   wrongdoing has occurred.” In re Recoton Corp., 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004)

17   (citations omitted). Consistent with its purpose, “[t]he scope of Rule 2004 examination is very

18   broad, broader even than discovery under the Federal Rules of Civil Procedure,” and “[a]ny third

19   party who has a relationship with a debtor may be made subject to a Rule 2004 investigation.” Id.;

20   see also, In re Financial Corp. of America, 119 B.R. 728, 733 (Bankr. C.D. Cal. 1990) (“The scope

21   of Rule 2004 is broad, and an examination pursuant to this rule may extend to third parties who

22   have had dealings with the debtor.”) (citations omitted).

23          “By its text, Rule 2004 does not require notice or a hearing before it can be utilized by a

24   party in interest.” In re Consolidated Meridian Funds, 2013 WL 1501636 at *9 (citations omitted).

25   As a result, “Rule 2004 orders are routinely issued upon the filing of an ex parte motion by the

26   [party in interest].” Id. “Rule 2004(c) provides that the production of documents may be compelled

      Page 3 of 4 - MOTION FOR ORDER AUTHORIZING RULE 2004 EXAMINATIONS OF
      DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE BANK, NA


                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
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                           Case 22-30228-thp11                Doc 108           Filed 05/26/22
 1   as provided in Rule 9016, which incorporates the subpoena power of Rule 45 [of the Federal Rules

 2   of Civil Procedure].” Id. “Under Rule 2004, therefore, the movant may obtain an ex parte order of

 3   the court which authorizes the movant's attorney to issue a subpoena under Rule 45.” Id.

 4          Fritz respectfully requests entry of an order requiring the Debtor to produce the documents

 5   requested on Exhibit A, attached to this Motion, and for Rajeev Jain and Sanjeev Jain to appear

 6   for examination regarding such documents and other matters on a date and time approved by the

 7   Court. Likewise, Fritz respectfully requests that Chase Bank be required to produce the documents

 8   described on Exhibit B, and that a representative of Chase Bank appear for examination regarding

 9   such documents and other matters at a time approved by the Court.

10          WHEREFORE, for the reasons set forth above, Fritz requests the Court enter an order

11   authorizing Fritz to take the Rule 2004 examination of Dr. Sanjeev Jain, Rajeev Jain, and Chase

12   Bank, N.A. and to (1) order Dr. Sanjeev Jain and Rajeev Jain to deliver the documents listed on

13   Exhibit A attached hereto to the undersigned within ten (10) days (or another interval appropriate

14   in the Court’s judgment) of the date of entry of an order granting the relief requested; and (2) order

15   that Chase Bank produce the documents listed on Exhibit B (after additional conferral over the

16   documents previously produced by the Debtor) at a time to be determined by the Court.

17          Dated this 26th day of May, 2022.
                                                           SUSSMAN SHANK LLP
18
19                                                           /s/ Susan S. Ford
                                                             Susan S. Ford, OSB No. 842203
20                                                           Attorney for Stephen M. Fritz, M.D.

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22

23

24

25

26
      Page 4 of 4 - MOTION FOR ORDER AUTHORIZING RULE 2004 EXAMINATIONS OF
      DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE BANK, NA


                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
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                           Case 22-30228-thp11                Doc 108           Filed 05/26/22
Requests for Documents and Electronic Information to Debtor AAIM Care LLC, its Affiliates
and Insiders (defined below):

    A.        DEFINITIONS:

         The following definitions and subsections of 11 USC § 101 are incorporated herein by
         reference, and the entities to which they apply are listed as follows:

         (2) “Affiliate,” which includes Columbia Asthma & Allergy Clinic, LLC; Columbia
         Asthma & Allergy Clinic, I, P.C.; Pacifica Medical Group, LLC; Northwest Allergy and
         Asthma Specialists, LLC; Idaho Allergy, LLC; CMD Group LLC; Dr. Sanjeev Jain; and
         Rajeev Jain; their respective predecessors and successors in interest, and any entity doing
         business under the name “Columbia Allergy”, “Columbia Asthma & Allergy Clinic”, or
         “Columbia Asthma & Allergy” or similar names in Oregon, California, Washington and
         Idaho.

         (5) “Claim” includes all claims listed by the Debtor on its Schedules and all proofs of
         claim filed by any person or entity in the AAIM Care LLC bankruptcy case.

         (12) “Debt”

         (13) “Debtor”

         (15) “Entity”

         (27A) “Health Care Business”

         (31) “Insider”, which includes, without limitation, Dr. Sanjeev Jain, Rajeev Jain, Dr.
         Kiren Jain, Pacifica Medical Group, LLC (“Pacifica”), Columbia Asthma & Allergy
         Clinic LLC aka Columbia Asthma & Allergy Clinic I, P. C. (“Columbia”), CMD Group
         LLC, Northwest Allergy LLC, Idaho Allergy LLC and any and all other Affiliates of the
         Debtor (not limited to those identified hereinabove), and all managing agents, owners,
         operators and persons in control of the Debtor and/or its Affiliates, and all predecessors
         or successors in interest.

         (32) “Insolvent”

         “Intercompany Loan” means any loan, advance, or transfer of funds for any purpose
         made by or to the Debtor to or from any Affiliate and/or Insider.

         (41) “Person”; also includes any limited liability company or corporation affiliated with
         the Debtor.

         (42) “Petition”




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         “Representative of the Debtor or Affiliate” includes, without limitation, Sanjeev Jain,
         Rajeev Jain, CMD Group LLC, Chugh Accounting and any other person or entity
         exercising decision-making authority or management of the Debtor and/or its Affiliates.

         (50), (51) “Security Agreement” and “Security Interest”

         (54) “Transfer”

         B.     “DOCUMENTS” for purposes of this request is intended in the broadest sense,
                and includes all forms of electronically stored information (“ESI”) and the
                following:

                1. Tangible things or items, whether handwritten, typed, printed, tape recorded,
                   electronically recorded, videotape recorded, visually reproduced,
                   stenographically reproduced, computer generated or reproduced in any other
                   manner;

                2. Originals and all copies of any and all communications;

                3. Writings of any kind or type whatsoever;

                4. Appointments;

                5. Cables, wires, memoranda, reports, notes, minutes, and interoffice
                   communications;

                6. QuickBooks records of any type, including ESI;

                7. Letters, notices and correspondence;

                8. Charts;

                9. Contracts, leases, loan and credit agreements, security agreements, guarantees
                   and all amendments, assignments and extensions or restatements thereof;

                10. Other legal instruments or official documents, including LLC operating
                    agreements, articles of incorporation, bylaws, stock purchase agreements;

                11. Vouchers, receipts, invoices, bills, orders, billings, and checks;


                12. Investigations or incident reports;

                13. Files and records;




Exhibit A
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                 14. Notes or summaries of conferences, meetings, discussions, interviews or
                     telephone conversations or messages;

                 15. Computer disks, memories, e-mail, text/SMS messages, or any other
                     computer-generated data; and

                 16. Drafts or copies of any of the above.

         However, “Documents” does not include communications between attorney and client
         protected by the attorney-client privilege.

         C.      REQUESTS FOR DOCUMENTS/ESI TO DEBTOR, AFFILIATES AND
                 INSIDERS, including, without limitation, Sanjeev Jain, Rajeev Jain, Pacifica
                 Medical Group, LLC, Columbia Asthma & Allergy Clinic LLC, Columbia
                 Asthma & Allergy Clinic I, P. C., CMD Group LLC, Northwest Allergy LLC,
                 Idaho Allergy LLC and any and all other Affiliates of the Debtor (not limited to
                 those identified hereinabove), and all managing agents, owners, operators and
                 persons in control of the Debtor and/or its Affiliates:

              1. All timesheets and time records reflecting hours actually worked in person by
                 each and every physician employed by or otherwise providing healthcare
                 supervision or services at each clinic and healthcare business owned or operated
                 by the Debtor and all Affiliates of the Debtor from January 1, 2018 through the
                 present, including, without limitation, timesheets and time records reflecting
                 hours worked by Dr. Sanjeev Jain.

              2. All financial statements, including balance sheets, profit and loss and income
                 statements, prepared from January 1, 2018 through the present on an individual or
                 a consolidated basis, reflecting the assets and liabilities, income, profits and losses
                 of:

                 a.   The Debtor;
                 b.   Each Affiliate of the Debtor;
                 c.   Dr. Sanjeev Jain; and
                 d.   Dr. Kiren Jain.


              3. All documents, correspondence and electronic communications regarding any and
                 all (a) Paycheck Protection Program Loans, including, including without
                 limitation, the loan in the principal amount of $200,272 made by Chase Bank as
                 reflected in proof of claim 9-1 to AAIM Care, LLC and/or to any Affiliates or
                 Insiders of the Debtor; (b) any and all EIDL loans to Debtor and/or any of its
                 Affiliates; (c) all documents regarding or relating to forgiveness or repayment of
                 such loans, and (d) all transaction reports, bank statements and other documents
                 reflecting deposits, withdrawals, transfers (including ACH) and expenditures of
                 such loaned funds by the Debtor or any Affiliates and Insiders of the Debtor.



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              4. Documents reflecting the recipient, type and amount of all charges on the Chase
                 Bank Credit Card by AAIM Care LLC prior to the Petition date, including,
                 without limitation, charges included in Chase Bank Proof of Claim No. 5-1.

              5. All operating agreements, bylaws, articles of incorporation, and other documents
                 governing the Debtor and each Affiliate of the Debtor, and all amendments and
                 restatements thereof.

              6. Employment contracts, salary and benefits information for each physician
                 working for the Debtor’s clinics and/or the clinics of each Affiliate of the Debtor,
                 including, without limitation, Dr. Sanjeev Jain, from 2016 through the present.

              7. All purchase and sale agreements and related documents for the acquisition of any
                 healthcare business(es) and clinics currently operated by the Debtor, any Insider
                 or Affiliate of the Debtor.

              8. Tax returns filed by the Debtor, any Affiliates and Insiders of the Debtor from
                 2018 through the present.

              9. Debtor’s general ledger, bank statements, QuickBooks transaction reports and
                 records of any type, reflecting all receipts, payments and transfers of funds by
                 the Debtor or any Affiliate or Insider of the Debtor for the acquisition of
                 additional allergy clinics by any Affiliate or Insider of the Debtor, for “cashflow”
                 purposes” or any other purpose from February 14, 2018 through the present.

                 Note: This request includes documents and reconciliations reflecting
                 Intercompany Loans between and among the Debtor and any Affiliates or Insiders
                 for any purpose including, without limitation, cashflow issues, shared
                 administrative expenses, the acquisition of clinics and healthcare businesses,
                 and/or funding for tenant improvements from January 2018 through the present.

              10. All contracts between, among or involving CMD Group LLC, the Debtor and/or
                  any Affiliates reflecting any agreement to share payroll, expenses, supplies and/or
                  operating costs, and including all documents reflecting any formula or percentage
                  for the allocation of such expenses between the Debtor and Affiliates.

              11. All loan and credit agreements between Chase Bank on the one hand, and the
                  Debtor and/or any Affiliate or Insider of the Debtor on the other hand, including
                  without limitation, loans to Columbia Allergy and Asthma Clinic, LLC and
                  successors in interest, from January 2017 through the present, and including the
                  document or documents Debtor or its counsel have referred to as the “Global”
                  loan or credit agreement.

              12. QuickBooks records, Debtor’s general ledger entries and any other records from
                  February 14, 2018 through the present reflecting (a) the payment history on the



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                 Chase Bank loans described in Proof of Claim No. 8-1, including the identity of
                 the payor(s) and date of each payment; (b) payments on any and all other loans
                 made by any person or entity to any Affiliate or Insider of the debtor; and (c) any
                 distributions to Sanjeev Jain.


              13. All documents evidencing loans by CMD Group LLC to Debtor and/or any
                  Affiliate or Insider of the Debtor.

              14. All documents regarding or relating to the purchase of the Debtor, including its
                  clinics, by Pacifica Medical Group LLC and/or Columbia, including, without
                  limitation, documents and records regarding amount allegedly owed by the
                  Debtor to Columbia and/or Pacifica as reflected on the Debtor’s schedules, and all
                  consideration and payments related thereto received by any Insider or Affiliate,
                  including, without limitation, Sanjeev Jain, Columbia and Pacifica.

              15. The Debtor’s general ledger from February 14, 2018 through the present.

              16. Documents reflecting current contact and address information for each creditor of
                 an Affiliate of the Debtor.

              17. All documents reflecting any analysis of allegedly avoidable transfers by the
                  Debtor to third parties.

              18. Correspondence and ESI reflecting communications regarding any loan or loans
                  made by Chase Bank to the Debtor, or any Insider or Affiliate of the Debtor,
                  including without limitation, borrower correspondence, loan applications, loan
                  and credit agreements, security agreements and guarantees, notices of
                  delinquency, default, acceleration, loan modification, extensions, assignments,
                  workout agreements or forgiveness.

              19. All documents regarding or relating to any alleged claim of the Debtor
                  indebtedness of the Debtor to Columbia, Pacifica, CMD Group, LLC and/or
                  Sanjeev Jain.

              20. Records, including, without limitation, all QuickBooks transaction reports, loan
                  agreements and promissory notes, reflecting any transfers of money or property of
                  the Debtor to anyone, including a description of the consideration received
                  therefor, from February 14, 2018 through the present.

              21. All documents underlying or tending to prove each claim listed as “undisputed” or
                  “liquidated” on the Debtor’s Schedules.

              22. All written materials relating to any and all assignments or instructions regarding
                  Chase Bank’s disbursements of loan advances, lines of credit and repayment
                  thereof, including, without limitation, assignments of any promissory notes.



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Documents and Electronic Information Requests to Chase Bank relating to AAIM Care LLC, its
Affiliates and Insiders (as defined below):

I.     DEFINITIONS:
       A.      The definitions of 11 USC § 101 referenced below apply, including additional
terms as follows:

         (2) “Affiliate,” which includes Columbia Asthma & Allergy Clinic, LLC, Columbia
         Asthma & Allergy Clinic, I, P.C., Pacifica Medical Group, LLC, Northwest Allergy
         and Asthma Specialists, LLC, AAIM Care, LLC; Idaho Allergy, LLC, CMD Group
         LLC, and their respective predecessors and successors in interest, Sanjeev Jain and
         Rajeev Jain;

         (5) “Claim” includes all claims listed by the Debtor on its Schedules and all proofs of
         claim filed by any person or entity in the bankruptcy case.

         (12) “Debt”

         (13) “Debtor”

         (15) “Entity”

         (27A) “Health Care Business”

         (31) “Insider,” which includes, without limitation, Dr. Sanjeev Jain, Rajeev Jain, Dr.
         Kiren Jain, Pacifica Medical Group, LLC, Columbia Asthma & Allergy Clinic LLC,
         Columbia Asthma & Allergy Clinic I, P. C., CMD Group LLC, Northwest Allergy LLC
         and Idaho Allergy LLC and any and all other Affiliates of the Debtor (not limited to those
         identified hereinabove), and all managing agents, owners, operators and persons in control
         of the Debtor and/or its Affiliates, and all predecessors or successors in interest.

         (32) “Insolvent”

         “Intercompany Loan” means any loan, advance, or transfer of funds for any purpose
         made by or to the Debtor to or from any Affiliate and/or Insider.

         (41) “Person”; also includes any limited liability company affiliated with the Debtor

         (42) “Petition”

         “Representative of the Debtor or Affiliate” includes, without limitation, Sanjeev Jain,
         Rajeev Jain, CMD Group LLC, Chugh Accounting and any other person or entity
         exercising decision-making authority or management of Debtor and/or its Affiliates.

          (50), (51) “Security Agreement” and “Security Interest”




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         (54) “Transfer”

         B. The term “Documents” is intended in the broadest sense, and includes all forms of
         electronically stored information (“ESI”) and the following:

                1. Tangible things or items, whether handwritten, typed, printed, tape recorded,
                   electronically recorded, videotape recorded, visually reproduced,
                   stenographically reproduced, computer generated or reproduced in any other
                   manner;

                2. Originals and all copies of any and all communications;

                3. Writings of any kind or type whatsoever;

                4. Appointments;

                5. Cables, wires, memoranda, reports, notes, minutes, and interoffice
                   communications;

                6. Letters, notices and correspondence;

                7. Charts;

                8. Contracts, loan and credit agreements, security agreements, guarantees and all
                   assignments, amendments and extensions or restatements thereof;

                9. Other legal instruments or official documents, including LLC operating
                   agreements, articles of incorporation, bylaws, stock purchase agreements;

                10. Evidence of payment including receipts, billing statements and payment
                    history and checks, wires and ACH transfers;

                11. Investigations or incident reports;

                12. Bank loan files and records;

                13. Notes or summaries of conferences, meetings, discussions, interviews or
                    telephone conversations or messages;

                14. Electronically stored information of any type, including without limitation,, e-
                    mails, text/SMS messages, or any other computer-generated data; and

                15. Drafts or copies of any of the above.

         However, “Documents” does not include communications between attorney and client
         protected by the attorney-client privilege.



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    C. Requests for documents to JP Morgan Chase Bank N.A. (hereinafter “Chase Bank”):

         1. All credit agreements and loan agreements between Chase Bank and the Debtor or
            any Affiliate(s) and/or Insiders of the Debtor, including Columbia Asthma & Allergy
            Clinic LLC, Columbia Asthma & Allergy Clinic I, P.C., and the loans and extensions
            of credit dated on or about January 15, 2019, February 12, 2019, February 19, 2019
            and March 5, 2020, and all associated guarantees, promissory notes and security
            agreements related thereto including those attached to Chase Bank Proof of Claim
            No. 8-1. This request also includes any assignments, renewals, extensions,
            modifications, amendments replacements and restatements of the foregoing
            agreements, obligations, promissory notes and guarantees.

         2. All non-privileged documents, including, loan applications and supporting
            documentation, including all balance sheets and financial statements in Chase Bank’s
            possession regarding or relating to the Debtor, and/or any Affiliates and Insiders of
            the Debtor.

         3. Correspondence and electronic communications between representatives of Chase
            Bank, including, without limitation, Peter H. White1, and any representative, Insider
            or Affiliate of the Debtor, regarding or relating to any credit agreements, loan
            agreements and/or one or more of the loans referenced in Proof of Claim 8-1 from
            January 1, 2017 through the present.

         4. All ledgers and documents reflecting the recipient(s) of each disbursement of money
            loaned or credit advanced by Chase Bank to Columbia Asthma & Allergy Clinic LLC
            and/or Columbia Asthma & Allergy Clinic I, P. C., or its designee or assignee,
            including the Debtor and any Insider or Affiliate of the Debtor, by any means from
            January 1, 2017 through the present.

         5. All Guarantees and replacements thereof provided to Chase Bank by any person(s) or
            entities other than AAIM Care LLC of any indebtedness, debts or liabilities owed to
            Chase Bank.

         6.     Chase Bank loan ledgers and records reflecting beginning balance, payment history
               and all expenditures and transfers of funds with respect to each term note and line of
               credit note included in Chase Bank Proof of Claim 8-1, including, without limitation,
               payments to Chase Bank.

         7. All notices of non-payment, late payment, maturity and/or default issued by Chase
            Bank to the Debtor, and/or any Affiliates, and/or Insiders of the Debtor with respect
            to any loan included in Proof of Claim 8-1.




         1   Including in his capacity as a Business Relationship Manager for Chase Bank.


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         8. Any and all forbearance agreements, restructuring agreements, amended loan, credit,
            or security agreements, renewals, modifications, consolidations, extensions,
            assignments, substitutions, accelerations, deferrals, postponements of any loan
            obligations and all related correspondence and electronic communications with
            respect to any loan referenced in Chase Bank Proof of Claim 8-1.

         9. All loan documents, electronic communications and correspondence between Chase
            Bank, on the one hand, and Sanjeev Jain, Rajeev Jain, and/or Kiren Jain, personally
            or in a representative capacity for Columbia Asthma & Allergy Clinic LLC and/or
            Columbia Asthma & Allergy Clinic I, P. C (“Columbia”), the Debtor, or any Affiliate
            or Insider of the Debtor, from January 1, 2019 through the present, regarding or
            relating to a “leveraged buyout” or other transaction resulting in the Debtor becoming
            indebted to any of its Affiliates or Insiders, including, without limitation, Columbia
            and/or Pacifica Medical Group.

         10. All documents, correspondence and electronic communications regarding the PPP
             Loan in the principal amount of $200,272 advanced by Chase Bank to AAIM Care,
             LLC, including, without limitation, all loan-related documents and applications, and
             all Chase Bank account statements reflecting deposits, withdrawals, transfers
             (including ACH) and all Debtor’s applications and uses of PPP loan proceeds.

         11. All documents regarding or relating to any application for forgiveness of the Debtor’s
             PPP Loan, and any correspondence or electronic communications regarding the
             denial or granting of any application or request for loan forgiveness.

         12. All documents and correspondence regarding or relating to the purchase by Sanjeev
            Jain of the health care business/allergy clinic in Idaho previously owned by Dr.
            Stephen Fritz M. D.

         13. All borrowing base certificates, collateral reports and appraisals related to the loans
             Chase Bank made to Columbia and/or Columbia’s assignees and/or designees as
             reflected in Proof of Claim 8-1.




Exhibit B
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                       Case 22-30228-thp11         Doc 108     Filed 05/26/22
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)

                                   UNITED STATES BANKRUPTCY COURT
                                                        Oregon
 _______________________________________ District of ___________________________________________

         AAIM Care, LLC
In re __________________________________________                                         22-30228-thp-11
                                                                              Case No. _____________________
                                  Debtor
                                                                                         11
                                                                              Chapter ______________


                                           SUBPOENA FOR RULE 2004 EXAMINATION

To:      Dr. Sanjeev Jain
      ________________________________________________________________________________________
                                                      (Name of person to whom the subpoena is directed)


X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME




                                                   Video and
The examination will be recorded by this method: ___________
Stenograph
 ________ic________________________________________

       Production: You, or your representatives, must also bring with you to the examination the following documents,
   electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
                                                                 See attached Exhibit A



        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: _____________
                                 CLERK OF COURT

                                                                             OR
                                 ________________________                          ________________________
                                 Signature of Clerk or Deputy Clerk                    Attorney’s signature


The name, address, email address, and telephone number of the attorney representing Dr. Stephen
Fritz , who issues or requests this subpoena, are: Susan S. Ford, OSB No. 842203
SUSSMAN SHANK LLP, 1000 SW Broadway, Suite 1400Portland, OR 97205-3089;
Telephone: (503) 227-1111


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 2)



                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                     ________________________________________________
                                                                                            Server’s signature

                                                                     ________________________________________________
                                                                                          Printed name and title


                                                                     ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:




                                         Case 22-30228-thp11        Doc 108     Filed 05/26/22
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)




                                             Case 22-30228-thp11                 Doc 108          Filed 05/26/22
Requests for Documents and Electronic Information to Debtor AAIM Care LLC, its Affiliates
and Insiders (defined below):

    A.        DEFINITIONS:

         The following definitions and subsections of 11 USC § 101 are incorporated herein by
         reference, and the entities to which they apply are listed as follows:

         (2) “Affiliate,” which includes Columbia Asthma & Allergy Clinic, LLC; Columbia
         Asthma & Allergy Clinic, I, P.C.; Pacifica Medical Group, LLC; Northwest Allergy and
         Asthma Specialists, LLC; Idaho Allergy, LLC; CMD Group LLC; Dr. Sanjeev Jain; and
         Rajeev Jain; their respective predecessors and successors in interest, and any entity doing
         business under the name “Columbia Allergy”, “Columbia Asthma & Allergy Clinic”, or
         “Columbia Asthma & Allergy” or similar names in Oregon, California, Washington and
         Idaho.

         (5) “Claim” includes all claims listed by the Debtor on its Schedules and all proofs of
         claim filed by any person or entity in the AAIM Care LLC bankruptcy case.

         (12) “Debt”

         (13) “Debtor”

         (15) “Entity”

         (27A) “Health Care Business”

         (31) “Insider”, which includes, without limitation, Dr. Sanjeev Jain, Rajeev Jain, Dr.
         Kiren Jain, Pacifica Medical Group, LLC (“Pacifica”), Columbia Asthma & Allergy
         Clinic LLC aka Columbia Asthma & Allergy Clinic I, P. C. (“Columbia”), CMD Group
         LLC, Northwest Allergy LLC, Idaho Allergy LLC and any and all other Affiliates of the
         Debtor (not limited to those identified hereinabove), and all managing agents, owners,
         operators and persons in control of the Debtor and/or its Affiliates, and all predecessors
         or successors in interest.

         (32) “Insolvent”

         “Intercompany Loan” means any loan, advance, or transfer of funds for any purpose
         made by or to the Debtor to or from any Affiliate and/or Insider.

         (41) “Person”; also includes any limited liability company or corporation affiliated with
         the Debtor.

         (42) “Petition”




Exhibit A
Page 1 of 5
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         “Representative of the Debtor or Affiliate” includes, without limitation, Sanjeev Jain,
         Rajeev Jain, CMD Group LLC, Chugh Accounting and any other person or entity
         exercising decision-making authority or management of the Debtor and/or its Affiliates.

         (50), (51) “Security Agreement” and “Security Interest”

         (54) “Transfer”

         B.     “DOCUMENTS” for purposes of this request is intended in the broadest sense,
                and includes all forms of electronically stored information (“ESI”) and the
                following:

                1. Tangible things or items, whether handwritten, typed, printed, tape recorded,
                   electronically recorded, videotape recorded, visually reproduced,
                   stenographically reproduced, computer generated or reproduced in any other
                   manner;

                2. Originals and all copies of any and all communications;

                3. Writings of any kind or type whatsoever;

                4. Appointments;

                5. Cables, wires, memoranda, reports, notes, minutes, and interoffice
                   communications;

                6. QuickBooks records of any type, including ESI;

                7. Letters, notices and correspondence;

                8. Charts;

                9. Contracts, leases, loan and credit agreements, security agreements, guarantees
                   and all amendments, assignments and extensions or restatements thereof;

                10. Other legal instruments or official documents, including LLC operating
                    agreements, articles of incorporation, bylaws, stock purchase agreements;

                11. Vouchers, receipts, invoices, bills, orders, billings, and checks;


                12. Investigations or incident reports;

                13. Files and records;




Exhibit A
Page 2 of 5
                      Case 22-30228-thp11         Doc 108      Filed 05/26/22
                 14. Notes or summaries of conferences, meetings, discussions, interviews or
                     telephone conversations or messages;

                 15. Computer disks, memories, e-mail, text/SMS messages, or any other
                     computer-generated data; and

                 16. Drafts or copies of any of the above.

         However, “Documents” does not include communications between attorney and client
         protected by the attorney-client privilege.

         C.      REQUESTS FOR DOCUMENTS/ESI TO DEBTOR, AFFILIATES AND
                 INSIDERS, including, without limitation, Sanjeev Jain, Rajeev Jain, Pacifica
                 Medical Group, LLC, Columbia Asthma & Allergy Clinic LLC, Columbia
                 Asthma & Allergy Clinic I, P. C., CMD Group LLC, Northwest Allergy LLC,
                 Idaho Allergy LLC and any and all other Affiliates of the Debtor (not limited to
                 those identified hereinabove), and all managing agents, owners, operators and
                 persons in control of the Debtor and/or its Affiliates:

              1. All timesheets and time records reflecting hours actually worked in person by
                 each and every physician employed by or otherwise providing healthcare
                 supervision or services at each clinic and healthcare business owned or operated
                 by the Debtor and all Affiliates of the Debtor from January 1, 2018 through the
                 present, including, without limitation, timesheets and time records reflecting
                 hours worked by Dr. Sanjeev Jain.

              2. All financial statements, including balance sheets, profit and loss and income
                 statements, prepared from January 1, 2018 through the present on an individual or
                 a consolidated basis, reflecting the assets and liabilities, income, profits and losses
                 of:

                 a.   The Debtor;
                 b.   Each Affiliate of the Debtor;
                 c.   Dr. Sanjeev Jain; and
                 d.   Dr. Kiren Jain.


              3. All documents, correspondence and electronic communications regarding any and
                 all (a) Paycheck Protection Program Loans, including, including without
                 limitation, the loan in the principal amount of $200,272 made by Chase Bank as
                 reflected in proof of claim 9-1 to AAIM Care, LLC and/or to any Affiliates or
                 Insiders of the Debtor; (b) any and all EIDL loans to Debtor and/or any of its
                 Affiliates; (c) all documents regarding or relating to forgiveness or repayment of
                 such loans, and (d) all transaction reports, bank statements and other documents
                 reflecting deposits, withdrawals, transfers (including ACH) and expenditures of
                 such loaned funds by the Debtor or any Affiliates and Insiders of the Debtor.



Exhibit A
Page 3 of 5
                        Case 22-30228-thp11           Doc 108    Filed 05/26/22
              4. Documents reflecting the recipient, type and amount of all charges on the Chase
                 Bank Credit Card by AAIM Care LLC prior to the Petition date, including,
                 without limitation, charges included in Chase Bank Proof of Claim No. 5-1.

              5. All operating agreements, bylaws, articles of incorporation, and other documents
                 governing the Debtor and each Affiliate of the Debtor, and all amendments and
                 restatements thereof.

              6. Employment contracts, salary and benefits information for each physician
                 working for the Debtor’s clinics and/or the clinics of each Affiliate of the Debtor,
                 including, without limitation, Dr. Sanjeev Jain, from 2016 through the present.

              7. All purchase and sale agreements and related documents for the acquisition of any
                 healthcare business(es) and clinics currently operated by the Debtor, any Insider
                 or Affiliate of the Debtor.

              8. Tax returns filed by the Debtor, any Affiliates and Insiders of the Debtor from
                 2018 through the present.

              9. Debtor’s general ledger, bank statements, QuickBooks transaction reports and
                 records of any type, reflecting all receipts, payments and transfers of funds by
                 the Debtor or any Affiliate or Insider of the Debtor for the acquisition of
                 additional allergy clinics by any Affiliate or Insider of the Debtor, for “cashflow”
                 purposes” or any other purpose from February 14, 2018 through the present.

                 Note: This request includes documents and reconciliations reflecting
                 Intercompany Loans between and among the Debtor and any Affiliates or Insiders
                 for any purpose including, without limitation, cashflow issues, shared
                 administrative expenses, the acquisition of clinics and healthcare businesses,
                 and/or funding for tenant improvements from January 2018 through the present.

              10. All contracts between, among or involving CMD Group LLC, the Debtor and/or
                  any Affiliates reflecting any agreement to share payroll, expenses, supplies and/or
                  operating costs, and including all documents reflecting any formula or percentage
                  for the allocation of such expenses between the Debtor and Affiliates.

              11. All loan and credit agreements between Chase Bank on the one hand, and the
                  Debtor and/or any Affiliate or Insider of the Debtor on the other hand, including
                  without limitation, loans to Columbia Allergy and Asthma Clinic, LLC and
                  successors in interest, from January 2017 through the present, and including the
                  document or documents Debtor or its counsel have referred to as the “Global”
                  loan or credit agreement.

              12. QuickBooks records, Debtor’s general ledger entries and any other records from
                  February 14, 2018 through the present reflecting (a) the payment history on the



Exhibit A
Page 4 of 5
                        Case 22-30228-thp11        Doc 108     Filed 05/26/22
                 Chase Bank loans described in Proof of Claim No. 8-1, including the identity of
                 the payor(s) and date of each payment; (b) payments on any and all other loans
                 made by any person or entity to any Affiliate or Insider of the debtor; and (c) any
                 distributions to Sanjeev Jain.


              13. All documents evidencing loans by CMD Group LLC to Debtor and/or any
                  Affiliate or Insider of the Debtor.

              14. All documents regarding or relating to the purchase of the Debtor, including its
                  clinics, by Pacifica Medical Group LLC and/or Columbia, including, without
                  limitation, documents and records regarding amount allegedly owed by the
                  Debtor to Columbia and/or Pacifica as reflected on the Debtor’s schedules, and all
                  consideration and payments related thereto received by any Insider or Affiliate,
                  including, without limitation, Sanjeev Jain, Columbia and Pacifica.

              15. The Debtor’s general ledger from February 14, 2018 through the present.

              16. Documents reflecting current contact and address information for each creditor of
                 an Affiliate of the Debtor.

              17. All documents reflecting any analysis of allegedly avoidable transfers by the
                  Debtor to third parties.

              18. Correspondence and ESI reflecting communications regarding any loan or loans
                  made by Chase Bank to the Debtor, or any Insider or Affiliate of the Debtor,
                  including without limitation, borrower correspondence, loan applications, loan
                  and credit agreements, security agreements and guarantees, notices of
                  delinquency, default, acceleration, loan modification, extensions, assignments,
                  workout agreements or forgiveness.

              19. All documents regarding or relating to any alleged claim of the Debtor
                  indebtedness of the Debtor to Columbia, Pacifica, CMD Group, LLC and/or
                  Sanjeev Jain.

              20. Records, including, without limitation, all QuickBooks transaction reports, loan
                  agreements and promissory notes, reflecting any transfers of money or property of
                  the Debtor to anyone, including a description of the consideration received
                  therefor, from February 14, 2018 through the present.

              21. All documents underlying or tending to prove each claim listed as “undisputed” or
                  “liquidated” on the Debtor’s Schedules.

              22. All written materials relating to any and all assignments or instructions regarding
                  Chase Bank’s disbursements of loan advances, lines of credit and repayment
                  thereof, including, without limitation, assignments of any promissory notes.



Exhibit A
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                        Case 22-30228-thp11        Doc 108     Filed 05/26/22
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)

                                   UNITED STATES BANKRUPTCY COURT
                                                        Oregon
 _______________________________________ District of ___________________________________________

         AAIM Care, LLC
In re __________________________________________                                         22-30228-thp-11
                                                                              Case No. _____________________
                                  Debtor
                                                                                         11
                                                                              Chapter ______________


                                          SUBPOENA FOR RULE 2004 EXAMINATION

   To:      Rajeev Jain _______________________________________________________________________
         _________________
                                                      (Name of person to whom the subpoena is directed)


X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME




                                                   Video and
The examination will be recorded by this method: ___________
Stenograph
 ________ic________________________________________

       Production: You, or your representatives, must also bring with you to the examination the following documents,
   electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
                                                             See Exhibit A attached hereto



        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: _____________
                                 CLERK OF COURT

                                                                             OR
                                 ________________________                          ________________________
                                 Signature of Clerk or Deputy Clerk                    Attorney’s signature


The name, address, email address, and telephone number of the attorney representing Dr. Stephen
Fritz, who issues or requests this subpoena, are: Susan S. Ford, OSB No. 842203, SUSSMAN
SHANK LLP, 1000 SW Broadway, Suite 1400 Portland, OR 97205-3089; Telephone: (503)
227-1111


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                         Case 22-30228-thp11               Doc 108       Filed 05/26/22
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                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                     ________________________________________________
                                                                                            Server’s signature

                                                                     ________________________________________________
                                                                                          Printed name and title


                                                                     ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:




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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
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attorney responsible for issuing and serving a subpoena must take
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reasonable steps to avoid imposing undue burden or expense on a person
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required must enforce this duty and impose an appropriate sanction —
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                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
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                                                                                       from sources that the person identifies as not reasonably accessible because
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in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)




                                             Case 22-30228-thp11                 Doc 108          Filed 05/26/22
Requests for Documents and Electronic Information to Debtor AAIM Care LLC, its Affiliates
and Insiders (defined below):

    A.        DEFINITIONS:

         The following definitions and subsections of 11 USC § 101 are incorporated herein by
         reference, and the entities to which they apply are listed as follows:

         (2) “Affiliate,” which includes Columbia Asthma & Allergy Clinic, LLC; Columbia
         Asthma & Allergy Clinic, I, P.C.; Pacifica Medical Group, LLC; Northwest Allergy and
         Asthma Specialists, LLC; Idaho Allergy, LLC; CMD Group LLC; Dr. Sanjeev Jain; and
         Rajeev Jain; their respective predecessors and successors in interest, and any entity doing
         business under the name “Columbia Allergy”, “Columbia Asthma & Allergy Clinic”, or
         “Columbia Asthma & Allergy” or similar names in Oregon, California, Washington and
         Idaho.

         (5) “Claim” includes all claims listed by the Debtor on its Schedules and all proofs of
         claim filed by any person or entity in the AAIM Care LLC bankruptcy case.

         (12) “Debt”

         (13) “Debtor”

         (15) “Entity”

         (27A) “Health Care Business”

         (31) “Insider”, which includes, without limitation, Dr. Sanjeev Jain, Rajeev Jain, Dr.
         Kiren Jain, Pacifica Medical Group, LLC (“Pacifica”), Columbia Asthma & Allergy
         Clinic LLC aka Columbia Asthma & Allergy Clinic I, P. C. (“Columbia”), CMD Group
         LLC, Northwest Allergy LLC, Idaho Allergy LLC and any and all other Affiliates of the
         Debtor (not limited to those identified hereinabove), and all managing agents, owners,
         operators and persons in control of the Debtor and/or its Affiliates, and all predecessors
         or successors in interest.

         (32) “Insolvent”

         “Intercompany Loan” means any loan, advance, or transfer of funds for any purpose
         made by or to the Debtor to or from any Affiliate and/or Insider.

         (41) “Person”; also includes any limited liability company or corporation affiliated with
         the Debtor.

         (42) “Petition”




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         “Representative of the Debtor or Affiliate” includes, without limitation, Sanjeev Jain,
         Rajeev Jain, CMD Group LLC, Chugh Accounting and any other person or entity
         exercising decision-making authority or management of the Debtor and/or its Affiliates.

         (50), (51) “Security Agreement” and “Security Interest”

         (54) “Transfer”

         B.     “DOCUMENTS” for purposes of this request is intended in the broadest sense,
                and includes all forms of electronically stored information (“ESI”) and the
                following:

                1. Tangible things or items, whether handwritten, typed, printed, tape recorded,
                   electronically recorded, videotape recorded, visually reproduced,
                   stenographically reproduced, computer generated or reproduced in any other
                   manner;

                2. Originals and all copies of any and all communications;

                3. Writings of any kind or type whatsoever;

                4. Appointments;

                5. Cables, wires, memoranda, reports, notes, minutes, and interoffice
                   communications;

                6. QuickBooks records of any type, including ESI;

                7. Letters, notices and correspondence;

                8. Charts;

                9. Contracts, leases, loan and credit agreements, security agreements, guarantees
                   and all amendments, assignments and extensions or restatements thereof;

                10. Other legal instruments or official documents, including LLC operating
                    agreements, articles of incorporation, bylaws, stock purchase agreements;

                11. Vouchers, receipts, invoices, bills, orders, billings, and checks;


                12. Investigations or incident reports;

                13. Files and records;




Exhibit A
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                 14. Notes or summaries of conferences, meetings, discussions, interviews or
                     telephone conversations or messages;

                 15. Computer disks, memories, e-mail, text/SMS messages, or any other
                     computer-generated data; and

                 16. Drafts or copies of any of the above.

         However, “Documents” does not include communications between attorney and client
         protected by the attorney-client privilege.

         C.      REQUESTS FOR DOCUMENTS/ESI TO DEBTOR, AFFILIATES AND
                 INSIDERS, including, without limitation, Sanjeev Jain, Rajeev Jain, Pacifica
                 Medical Group, LLC, Columbia Asthma & Allergy Clinic LLC, Columbia
                 Asthma & Allergy Clinic I, P. C., CMD Group LLC, Northwest Allergy LLC,
                 Idaho Allergy LLC and any and all other Affiliates of the Debtor (not limited to
                 those identified hereinabove), and all managing agents, owners, operators and
                 persons in control of the Debtor and/or its Affiliates:

              1. All timesheets and time records reflecting hours actually worked in person by
                 each and every physician employed by or otherwise providing healthcare
                 supervision or services at each clinic and healthcare business owned or operated
                 by the Debtor and all Affiliates of the Debtor from January 1, 2018 through the
                 present, including, without limitation, timesheets and time records reflecting
                 hours worked by Dr. Sanjeev Jain.

              2. All financial statements, including balance sheets, profit and loss and income
                 statements, prepared from January 1, 2018 through the present on an individual or
                 a consolidated basis, reflecting the assets and liabilities, income, profits and losses
                 of:

                 a.   The Debtor;
                 b.   Each Affiliate of the Debtor;
                 c.   Dr. Sanjeev Jain; and
                 d.   Dr. Kiren Jain.


              3. All documents, correspondence and electronic communications regarding any and
                 all (a) Paycheck Protection Program Loans, including, including without
                 limitation, the loan in the principal amount of $200,272 made by Chase Bank as
                 reflected in proof of claim 9-1 to AAIM Care, LLC and/or to any Affiliates or
                 Insiders of the Debtor; (b) any and all EIDL loans to Debtor and/or any of its
                 Affiliates; (c) all documents regarding or relating to forgiveness or repayment of
                 such loans, and (d) all transaction reports, bank statements and other documents
                 reflecting deposits, withdrawals, transfers (including ACH) and expenditures of
                 such loaned funds by the Debtor or any Affiliates and Insiders of the Debtor.



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              4. Documents reflecting the recipient, type and amount of all charges on the Chase
                 Bank Credit Card by AAIM Care LLC prior to the Petition date, including,
                 without limitation, charges included in Chase Bank Proof of Claim No. 5-1.

              5. All operating agreements, bylaws, articles of incorporation, and other documents
                 governing the Debtor and each Affiliate of the Debtor, and all amendments and
                 restatements thereof.

              6. Employment contracts, salary and benefits information for each physician
                 working for the Debtor’s clinics and/or the clinics of each Affiliate of the Debtor,
                 including, without limitation, Dr. Sanjeev Jain, from 2016 through the present.

              7. All purchase and sale agreements and related documents for the acquisition of any
                 healthcare business(es) and clinics currently operated by the Debtor, any Insider
                 or Affiliate of the Debtor.

              8. Tax returns filed by the Debtor, any Affiliates and Insiders of the Debtor from
                 2018 through the present.

              9. Debtor’s general ledger, bank statements, QuickBooks transaction reports and
                 records of any type, reflecting all receipts, payments and transfers of funds by
                 the Debtor or any Affiliate or Insider of the Debtor for the acquisition of
                 additional allergy clinics by any Affiliate or Insider of the Debtor, for “cashflow”
                 purposes” or any other purpose from February 14, 2018 through the present.

                 Note: This request includes documents and reconciliations reflecting
                 Intercompany Loans between and among the Debtor and any Affiliates or Insiders
                 for any purpose including, without limitation, cashflow issues, shared
                 administrative expenses, the acquisition of clinics and healthcare businesses,
                 and/or funding for tenant improvements from January 2018 through the present.

              10. All contracts between, among or involving CMD Group LLC, the Debtor and/or
                  any Affiliates reflecting any agreement to share payroll, expenses, supplies and/or
                  operating costs, and including all documents reflecting any formula or percentage
                  for the allocation of such expenses between the Debtor and Affiliates.

              11. All loan and credit agreements between Chase Bank on the one hand, and the
                  Debtor and/or any Affiliate or Insider of the Debtor on the other hand, including
                  without limitation, loans to Columbia Allergy and Asthma Clinic, LLC and
                  successors in interest, from January 2017 through the present, and including the
                  document or documents Debtor or its counsel have referred to as the “Global”
                  loan or credit agreement.

              12. QuickBooks records, Debtor’s general ledger entries and any other records from
                  February 14, 2018 through the present reflecting (a) the payment history on the



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                 Chase Bank loans described in Proof of Claim No. 8-1, including the identity of
                 the payor(s) and date of each payment; (b) payments on any and all other loans
                 made by any person or entity to any Affiliate or Insider of the debtor; and (c) any
                 distributions to Sanjeev Jain.


              13. All documents evidencing loans by CMD Group LLC to Debtor and/or any
                  Affiliate or Insider of the Debtor.

              14. All documents regarding or relating to the purchase of the Debtor, including its
                  clinics, by Pacifica Medical Group LLC and/or Columbia, including, without
                  limitation, documents and records regarding amount allegedly owed by the
                  Debtor to Columbia and/or Pacifica as reflected on the Debtor’s schedules, and all
                  consideration and payments related thereto received by any Insider or Affiliate,
                  including, without limitation, Sanjeev Jain, Columbia and Pacifica.

              15. The Debtor’s general ledger from February 14, 2018 through the present.

              16. Documents reflecting current contact and address information for each creditor of
                 an Affiliate of the Debtor.

              17. All documents reflecting any analysis of allegedly avoidable transfers by the
                  Debtor to third parties.

              18. Correspondence and ESI reflecting communications regarding any loan or loans
                  made by Chase Bank to the Debtor, or any Insider or Affiliate of the Debtor,
                  including without limitation, borrower correspondence, loan applications, loan
                  and credit agreements, security agreements and guarantees, notices of
                  delinquency, default, acceleration, loan modification, extensions, assignments,
                  workout agreements or forgiveness.

              19. All documents regarding or relating to any alleged claim of the Debtor
                  indebtedness of the Debtor to Columbia, Pacifica, CMD Group, LLC and/or
                  Sanjeev Jain.

              20. Records, including, without limitation, all QuickBooks transaction reports, loan
                  agreements and promissory notes, reflecting any transfers of money or property of
                  the Debtor to anyone, including a description of the consideration received
                  therefor, from February 14, 2018 through the present.

              21. All documents underlying or tending to prove each claim listed as “undisputed” or
                  “liquidated” on the Debtor’s Schedules.

              22. All written materials relating to any and all assignments or instructions regarding
                  Chase Bank’s disbursements of loan advances, lines of credit and repayment
                  thereof, including, without limitation, assignments of any promissory notes.



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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)

                                   UNITED STATES BANKRUPTCY COURT
                                                        Oregon
 _______________________________________ District of ___________________________________________

         AAIM Care, LLC
In re __________________________________________                                       22-30228-thp-11
                                                                            Case No. _____________________
                                  Debtor
                                                                                       11
                                                                            Chapter ______________


                                          SUBPOENA FOR RULE 2004 EXAMINATION

     To:      Chase Bank, NA__________________________________________________________________
                                                      (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME




                                                      Video and/or
The examination will be recorded by this method: ___________
Stenograph
 ________ic________________________________________
 X Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


            See attached Exhibit B

        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: _____________
                                 CLERK OF COURT

                                                                           OR
                                 ________________________                        ________________________
                                 Signature of Clerk or Deputy Clerk                  Attorney’s signature


The name, address, email address, and telephone number of the attorney representing Dr. Stephen
Fritz M.D. , who issues or requests this subpoena, are: Susan S. Ford, OSB No. 842203
SUSSMAN SHANK LLP, 1000 SW Broadway, Suite 1400
Portland, OR 97205-3089; Telephone: (503) 227-1111


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 2)



                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                     ________________________________________________
                                                                                            Server’s signature

                                                                     ________________________________________________
                                                                                          Printed name and title


                                                                     ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:




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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)




                                             Case 22-30228-thp11                 Doc 108          Filed 05/26/22
Documents and Electronic Information Requests to Chase Bank relating to AAIM Care LLC, its
Affiliates and Insiders (as defined below):

I.     DEFINITIONS:
       A.      The definitions of 11 USC § 101 referenced below apply, including additional
terms as follows:

         (2) “Affiliate,” which includes Columbia Asthma & Allergy Clinic, LLC, Columbia
         Asthma & Allergy Clinic, I, P.C., Pacifica Medical Group, LLC, Northwest Allergy
         and Asthma Specialists, LLC, AAIM Care, LLC; Idaho Allergy, LLC, CMD Group
         LLC, and their respective predecessors and successors in interest, Sanjeev Jain and
         Rajeev Jain;

         (5) “Claim” includes all claims listed by the Debtor on its Schedules and all proofs of
         claim filed by any person or entity in the bankruptcy case.

         (12) “Debt”

         (13) “Debtor”

         (15) “Entity”

         (27A) “Health Care Business”

         (31) “Insider,” which includes, without limitation, Dr. Sanjeev Jain, Rajeev Jain, Dr.
         Kiren Jain, Pacifica Medical Group, LLC, Columbia Asthma & Allergy Clinic LLC,
         Columbia Asthma & Allergy Clinic I, P. C., CMD Group LLC, Northwest Allergy LLC
         and Idaho Allergy LLC and any and all other Affiliates of the Debtor (not limited to those
         identified hereinabove), and all managing agents, owners, operators and persons in control
         of the Debtor and/or its Affiliates, and all predecessors or successors in interest.

         (32) “Insolvent”

         “Intercompany Loan” means any loan, advance, or transfer of funds for any purpose
         made by or to the Debtor to or from any Affiliate and/or Insider.

         (41) “Person”; also includes any limited liability company affiliated with the Debtor

         (42) “Petition”

         “Representative of the Debtor or Affiliate” includes, without limitation, Sanjeev Jain,
         Rajeev Jain, CMD Group LLC, Chugh Accounting and any other person or entity
         exercising decision-making authority or management of Debtor and/or its Affiliates.

          (50), (51) “Security Agreement” and “Security Interest”




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         (54) “Transfer”

         B. The term “Documents” is intended in the broadest sense, and includes all forms of
         electronically stored information (“ESI”) and the following:

                1. Tangible things or items, whether handwritten, typed, printed, tape recorded,
                   electronically recorded, videotape recorded, visually reproduced,
                   stenographically reproduced, computer generated or reproduced in any other
                   manner;

                2. Originals and all copies of any and all communications;

                3. Writings of any kind or type whatsoever;

                4. Appointments;

                5. Cables, wires, memoranda, reports, notes, minutes, and interoffice
                   communications;

                6. Letters, notices and correspondence;

                7. Charts;

                8. Contracts, loan and credit agreements, security agreements, guarantees and all
                   assignments, amendments and extensions or restatements thereof;

                9. Other legal instruments or official documents, including LLC operating
                   agreements, articles of incorporation, bylaws, stock purchase agreements;

                10. Evidence of payment including receipts, billing statements and payment
                    history and checks, wires and ACH transfers;

                11. Investigations or incident reports;

                12. Bank loan files and records;

                13. Notes or summaries of conferences, meetings, discussions, interviews or
                    telephone conversations or messages;

                14. Electronically stored information of any type, including without limitation,, e-
                    mails, text/SMS messages, or any other computer-generated data; and

                15. Drafts or copies of any of the above.

         However, “Documents” does not include communications between attorney and client
         protected by the attorney-client privilege.



Exhibit B
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    C. Requests for documents to JP Morgan Chase Bank N.A. (hereinafter “Chase Bank”):

         1. All credit agreements and loan agreements between Chase Bank and the Debtor or
            any Affiliate(s) and/or Insiders of the Debtor, including Columbia Asthma & Allergy
            Clinic LLC, Columbia Asthma & Allergy Clinic I, P.C., and the loans and extensions
            of credit dated on or about January 15, 2019, February 12, 2019, February 19, 2019
            and March 5, 2020, and all associated guarantees, promissory notes and security
            agreements related thereto including those attached to Chase Bank Proof of Claim
            No. 8-1. This request also includes any assignments, renewals, extensions,
            modifications, amendments replacements and restatements of the foregoing
            agreements, obligations, promissory notes and guarantees.

         2. All non-privileged documents, including, loan applications and supporting
            documentation, including all balance sheets and financial statements in Chase Bank’s
            possession regarding or relating to the Debtor, and/or any Affiliates and Insiders of
            the Debtor.

         3. Correspondence and electronic communications between representatives of Chase
            Bank, including, without limitation, Peter H. White1, and any representative, Insider
            or Affiliate of the Debtor, regarding or relating to any credit agreements, loan
            agreements and/or one or more of the loans referenced in Proof of Claim 8-1 from
            January 1, 2017 through the present.

         4. All ledgers and documents reflecting the recipient(s) of each disbursement of money
            loaned or credit advanced by Chase Bank to Columbia Asthma & Allergy Clinic LLC
            and/or Columbia Asthma & Allergy Clinic I, P. C., or its designee or assignee,
            including the Debtor and any Insider or Affiliate of the Debtor, by any means from
            January 1, 2017 through the present.

         5. All Guarantees and replacements thereof provided to Chase Bank by any person(s) or
            entities other than AAIM Care LLC of any indebtedness, debts or liabilities owed to
            Chase Bank.

         6.     Chase Bank loan ledgers and records reflecting beginning balance, payment history
               and all expenditures and transfers of funds with respect to each term note and line of
               credit note included in Chase Bank Proof of Claim 8-1, including, without limitation,
               payments to Chase Bank.

         7. All notices of non-payment, late payment, maturity and/or default issued by Chase
            Bank to the Debtor, and/or any Affiliates, and/or Insiders of the Debtor with respect
            to any loan included in Proof of Claim 8-1.




         1   Including in his capacity as a Business Relationship Manager for Chase Bank.


Exhibit B
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         8. Any and all forbearance agreements, restructuring agreements, amended loan, credit,
            or security agreements, renewals, modifications, consolidations, extensions,
            assignments, substitutions, accelerations, deferrals, postponements of any loan
            obligations and all related correspondence and electronic communications with
            respect to any loan referenced in Chase Bank Proof of Claim 8-1.

         9. All loan documents, electronic communications and correspondence between Chase
            Bank, on the one hand, and Sanjeev Jain, Rajeev Jain, and/or Kiren Jain, personally
            or in a representative capacity for Columbia Asthma & Allergy Clinic LLC and/or
            Columbia Asthma & Allergy Clinic I, P. C (“Columbia”), the Debtor, or any Affiliate
            or Insider of the Debtor, from January 1, 2019 through the present, regarding or
            relating to a “leveraged buyout” or other transaction resulting in the Debtor becoming
            indebted to any of its Affiliates or Insiders, including, without limitation, Columbia
            and/or Pacifica Medical Group.

         10. All documents, correspondence and electronic communications regarding the PPP
             Loan in the principal amount of $200,272 advanced by Chase Bank to AAIM Care,
             LLC, including, without limitation, all loan-related documents and applications, and
             all Chase Bank account statements reflecting deposits, withdrawals, transfers
             (including ACH) and all Debtor’s applications and uses of PPP loan proceeds.

         11. All documents regarding or relating to any application for forgiveness of the Debtor’s
             PPP Loan, and any correspondence or electronic communications regarding the
             denial or granting of any application or request for loan forgiveness.

         12. All documents and correspondence regarding or relating to the purchase by Sanjeev
            Jain of the health care business/allergy clinic in Idaho previously owned by Dr.
            Stephen Fritz M. D.

         13. All borrowing base certificates, collateral reports and appraisals related to the loans
             Chase Bank made to Columbia and/or Columbia’s assignees and/or designees as
             reflected in Proof of Claim 8-1.




Exhibit B
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10                          IN THE UNITED STATES BANKRUPTCY COURT

11                                             DISTRICT OF OREGON

12   In re:                                                           )      Case No. 22-30228-thp11
                                                                      )
13   AAIM Care, LLC,                                                  )      ORDER GRANTING MOTION FOR
                                                                      )      ORDER AUTHORIZING RULE 2004
14                                                                    )      EXAMINATIONS OF DR. SANJEEV
              Debtor-in-Possession.                                   )      JAIN, RAJEEV JAIN AND CHASE BANK,
15                                                                    )      N.A. AND PRODUCTION OF
                                                                      )      DOCUMENTS
16                                                                    )

17            This matter came before the Court on interested party Stephen Fritz, M.D.’s Motion for

18   Order Authorizing Rule 2004 Examinations of Dr. Sanjeev Jain, Rajeev Jain, and Chase Bank,

19   N.A. and the production of documents (the “Motion”). The Court, having considered the Motion

20   and the Court’s record and files, and finding the relief requested is warranted under the

21   circumstances, it is

22            ORDERED:

23            A.     The Motion is granted;

24                   1.     Dr. Sanjeev Jain and Rajeev Jain are ordered to produce the documents

25   requested from the Debtor pursuant to the Subpoena and request for documents attached as

26   Exhibit A to the Motion on or before June __, 2022 to Sussman Shank LLP, Attn: Susan S. Ford,
       Page 1 of 3 – ORDER GRANTING MOTION FOR ORDER AUTHORIZING RULE 2004
       EXAMINATIONS OF DR. SANJEEV JAIN, RAJEEV JAIN AND CHASE BANK, N.A.
       AND PRODUCTION OF DOCUMENTS

                                                SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                      1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                            TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                            Case 22-30228-thp11                  Doc 108           Filed 05/26/22
 1   1000 S.W. Broadway, Suite 1400, Portland, Oregon 97205, or electronically to

 2   sford@sussmanshank.com.

 3                  2.      Dr. Sanjeev Jain is ordered to appear pursuant to Rule 2004 to be examined

 4   under oath by video software such as Zoom on June___, 2022, or on such other date mutually

 5   agreed upon by the parties, regarding the Debtor’s assets, liabilities, and business relationships,

 6   including, without limitation, with Chase Bank N.A. (“Chase Bank”), CMD Group LLC,

 7   Columbia Asthma and Allergy Clinic I, Inc., and other Insiders and Affiliates of the Debtor as

 8   defined and identified in Exhibit A to the Motion, documents produced pursuant to the subpoena,

 9   reorganization intentions and prospects, transfers of the Debtor’s property, and any matters related

10   to any of the foregoing;

11                  3.      Rajeev Jain is ordered to appear pursuant to Rule 2004 to be examined under

12   oath by video software such as Zoom on June___, 2022, or on such other date mutually agreed

13   upon by the parties, regarding the Debtor’s assets, liabilities, and business relationships, including,

14   without limitation, with Chase Bank, CMD Group LLC, Columbia Asthma and Allergy Clinic I,

15   Inc., and other Insiders and Affiliates of the Debtor as defined and identified in Exhibit A to the

16   Motion, documents produced pursuant to the subpoena, reorganization intentions and prospects,

17   transfers of the Debtor’s property, and any matters related to any of the foregoing;

18                  4.      Chase Bank is ordered to produce the documents requested from Chase

19   Bank pursuant to subpoena and the request for documents attached as Exhibit B to the Motion on

20   or before June __, 2022 to Sussman Shank LLP, Attn: Susan S. Ford, 1000 S.W. Broadway,

21   Suite 1400, Portland, Oregon 97205, or electronically to sford@sussmanshank.com; and

22                  5.      A representative of Chase Bank with knowledge of the documents produced

23   pursuant to Section 4, above and the matters described on Exhibit B attached to the Motion is

24   ordered to appear pursuant to Rule 2004 to be examined under oath by video software such as

25   Zoom on June ___, 2022, or on such other date mutually agreed upon by the parties, relating to

26   the Debtor’s assets, liabilities, and business relationships, including with Chase Bank, Columbia
      Page 2 of 3 – ORDER GRANTING MOTION FOR ORDER AUTHORIZING RULE 2004
      EXAMINATIONS OF DR. SANJEEV JAIN, RAJEEV JAIN AND CHASE BANK, N.A.
      AND PRODUCTION OF DOCUMENTS

                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                   1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                         TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 22-30228-thp11                Doc 108           Filed 05/26/22
 1   Asthma and Allergy Clinic I, Inc., and other Insiders and Affiliates of the Debtor as defined and

 2   identified in Exhibit B to the Motion, documents produced pursuant to the subpoena,

 3   reorganization prospects, transfers of the Debtor’s money or property, and any matters related to

 4   any of the foregoing.

 5                                                         ###

 6                  CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(a)(2)(A)

 7            I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

 8
     PRESENTED BY:
 9
     SUSSMAN SHANK LLP
10

11
     Susan S. Ford, OSB No. 842203
12   Attorneys for Stephen M. Fritz, M.D
13   c:       ECF Participants

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          Page 3 of 3 – ORDER GRANTING MOTION FOR ORDER AUTHORIZING RULE 2004
          EXAMINATIONS OF DR. SANJEEV JAIN, RAJEEV JAIN AND CHASE BANK, N.A.
          AND PRODUCTION OF DOCUMENTS

                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
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                                         TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                             Case 22-30228-thp11              Doc 108           Filed 05/26/22
 1                                    CERTIFICATE OF SERVICE

 2          I, Janine E. Hume declare as follows:

 3          I am employed in the County of Multnomah, state of Oregon; I am over the age of eighteen

 4   years and am not a party to this action; my business address is 1000 S.W. Broadway, Suite 1400,

 5   Portland, Oregon 97205-3089, in said county and state.

 6          I certify that on May 26, 2022, I served a MOTION FOR ORDER AUTHORIZING

 7   RULE 2004 EXAMINATIONS OF DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE

 8   BANK, N.A. the above-referenced document(s) on all ECF participants as indicated on the Court's

 9   Cm/ECF system.

10          I swear under penalty of perjury that the foregoing is true and correct to the best of my

11   knowledge, information, and belief.

12          Dated: May 26, 2022.

13

14                                           /s/ Janine E. Hume
                                             ___________________________________________
15                                           Janine E. Hume, Legal Assistant
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CERTIFICATE OF SERVICE - Page 1


                                           SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                 1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                       TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
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